16-10992-smb          Doc 2361        Filed 01/31/17 Entered 01/31/17 16:42:23                        Main Document
                                                   Pg 1 of 21
                                                     Hearing Date: February 7, 2017 at 10:00 a.m. (Eastern Time)
                                                     Reply Deadline: February 3, 2017 at 4:00 p.m. (Eastern Time)

WILMER CUTLER PICKERING                                             AKIN GUMP STRAUSS HAUER &
HALE AND DORR LLP                                                   FELD LLP
7 World Trade Center                                                One Bryant Park
250 Greenwich Street                                                New York, New York 10036
New York, New York 10007                                            Telephone: (212) 872-1000
Telephone: (212) 230-8800                                           Facsimile: (212) 872-1002
Facsimile: (212) 230-8888                                           David M. Zensky, Esq.
Andrew Goldman, Esq.                                                Erik Preis, Esq.
Charles Platt, Esq.                                                 Deborah J. Newman, Esq.
Benjamin Loveland, Esq. (admitted pro hac vice)
Lauren Lifland, Esq.                                                Counsel to the Tranche B Lenders/Steering
                                                                    Committee
Counsel for Wilmington Trust, N.A., in its
capacity as Trustee and Collateral Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                               Chapter 11

SUNEDISON, INC., et al.,                                             Case No. 16-10992 (SMB)

                                              Debtors. 1             (Jointly Administered)


                      WILMINGTON TRUST, N.A.’S, AS
             TRUSTEE, AND THE TRANCHE B LENDERS/STEERING
          COMMITTEE’S RESPONSE TO (I) BOKF, N.A.’S, AS INDENTURE
      TRUSTEE, OBJECTION TO PROOFS OF CLAIM NOS. 1490 AND 3555, AND
 (II) THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ OID OBJECTION



 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number are as
 follows: SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind Holdings, Inc. (2144); SUNE Hawaii Solar
 Holdings, LLC (0994); First Wind Solar Portfolio, LLC (5014); First Wind California Holdings, LLC (7697); SunEdison
 Holdings Corporation (8669); SunEdison Utility Holdings, Inc. (6443); SunEdison International, Inc. (4551); SUNE ML
 1, LLC (3132); MEMC Pasadena, Inc. (5238); Solaicx (1969); SunEdison Contracting, LLC (3819); NVT, LLC (5370);
 NVT Licenses, LLC (5445); Team-Solar, Inc. (7782); SunEdison Canada, LLC (6287); Enflex Corporation (5515);
 Fotowatio Renewable Ventures, Inc. (1788); Silver Ridge Power Holdings, LLC (5886); SunEdison International, LLC
 (1567); Sun Edison LLC (1450); SunEdison Products Singapore Pte. Ltd. (7373); SunEdison Residential Services, LLC
 (5787); PVT Solar, Inc. (3308); SEV Merger Sub Inc. (N/A); Sunflower Renewable Holdings 1, LLC (6273); Blue Sky
 West Capital, LLC (7962); First Wind Oakfield Portfolio, LLC (3711); First Wind Panhandle Holdings III, LLC (4238);
 DSP Renewables, LLC (5513); Hancock Renewables Holdings, LLC (N/A); EverStream HoldCo Fund I, LLC (9564);
 Buckthorn Renewables Holdings, LLC (7616); Greenmountain Wind Holdings, LLC (N/A); Rattlesnake Flat Holdings,
 LLC (N/A); Somerset Wind Holdings, LLC (N/A); SunE Waiawa Holdings, LLC (9757); SunE MN Development, LLC
 (8669); SunE MN Development Holdings, LLC (5388); SunE Minnesota Holdings, LLC (8926); and TerraForm Private
 Holdings, LLC (5993). The address of the Debtors’ corporate headquarters is 13736 Riverport Dr., Maryland Heights,
 Missouri 63043.
16-10992-smb             Doc 2361             Filed 01/31/17 Entered 01/31/17 16:42:23                                     Main Document
                                                           Pg 2 of 21


                                                     TABLE OF CONTENTS


 TABLE OF AUTHORITIES .......................................................................................................... ii

 PRELIMINARY STATEMENT .....................................................................................................1

 RELEVANT UNDISPUTED FACTS .............................................................................................3

                       A.         SUNE’s Financial Condition In The Months Preceding January 2016 .......3

                       B.         The January Financing, Which Included The Notes Exchange ...................5

                       C.         The Second Lien Noteholders’ Claim..........................................................6

 RESPONSE......................................................................................................................................7

            I.         The Notes Exchange Did Not Generate OID For Purposes Of Section
                       502(b)(2) ..................................................................................................................7

                      A.          Fair Value Debt Exchanges In Consensual Workouts Do Not
                                  Generate Disallowable Unmatured Interest For Bankruptcy Purposes .......7

                       B.         The January Financing Was In The Context Of A Consensual
                                  Workout .....................................................................................................11

                       C.         Supreme Court Decisions Do Not Overrule Chateaugay ..........................15

           II.        The OID Objections Improperly Calculate the Amount of OID Generated by
                      the Notes Exchange................................................................................................16

 CONCLUSION ..............................................................................................................................18




                                                                       -i-
16-10992-smb              Doc 2361            Filed 01/31/17 Entered 01/31/17 16:42:23                                   Main Document
                                                           Pg 3 of 21


                                                  TABLE OF AUTHORITIES

                                                                                                                                      Page(s)
                                                                   CASES

 In re Chateaugay Corp.,
        109 B.R. 51 (Bankr. S.D.N.Y. 1990), aff’d sub. nom. LTV Corp. v. Valley
        Fidelity Bank & Trust Co. (In re Chateaugay Corp.), 130 B.R. 403
        (S.D.N.Y. 1991), aff’d in part and rev’d in part, 961 F.2d 378 (2d Cir.
        1992) ..................................................................................................................................13

 LTV Corp. v. Valley Fidelity Bank & Trust Co. (In re Chateaugay Corp.),
       961 F.2d 378 (2d Cir. 1992)....................................................................................... passim

 Marblegate Asset Management, LLC v. Education Management Finance Corp.,
       No. 15-2124-cv, 2017 WL 164318 (2d Cir. Jan. 17, 2017) ...............................................14

 Official Committee of Unsecured Creditors v. UMB Bank, N.A. (In re Residential
         Capital, LLC),
         501 B.R. 549 (Bankr. S.D.N.Y. 2013) ....................................................................... passim

 Tex. Commerce Bank, N.A. v. Licht (In re Pengo Indus., Inc.),
        962 F.2d 543 (5th Cir. 1992) ...............................................................................7, 9, 12, 15

                                             STATUTES AND REGULATIONS

 11 U.S.C. § 502 ...................................................................................................................... passim

 26 U.S.C. § 1273(a) .......................................................................................................................17

 26 C.F.R. § 1.1273-2......................................................................................................................17

                                                     OTHER AUTHORITIES

 Robert W. Sawdey, Out-of-Court Workouts, 45-JUN Fed. Law. 46 (1998) .................................12

 Bowman Brown, Brian Nordwall & Michael L. Ashner, Corporate, Securities and
      Banking Law Aspects of Workouts, 32 U. Miami L. Rev. 979 (1978)...............................12




                                                                      - ii -
16-10992-smb         Doc 2361        Filed 01/31/17 Entered 01/31/17 16:42:23                     Main Document
                                                  Pg 4 of 21


         Wilmington Trust, N.A., solely in its capacity as Trustee under that certain indenture

 dated as of January 11, 2016 for certain 5% Guaranteed Convertible Senior Secured Notes due

 2018 issued by SunEdison, Inc. (“Wilmington Trust”), 2 and the Tranche B Lenders/Steering

 Committee (together with Wilmington Trust, the “Respondents”), 3 respectfully submit this

 response to (i) BOKF, N.A.’s (“BOKF”) Objection to Proofs of Claim Nos. 1490 and 3555

 [Docket No. 1455] (the “BOKF Objection”), and (ii) the Official Committee of Unsecured

 Creditors’ (the “Committee”) objection to Proof of Claim No. 1490 (the “Committee Objection,”

 and together with the BOKF Objection, the “OID Objections”). 4

                                      PRELIMINARY STATEMENT

              1.       The OID Objections seek to disallow a portion of the Second Lien Notes’

 Proof of Claim on the basis that “original issue discount” (“OID”) purportedly generated by the

 Notes Exchange constitutes “unmatured interest” that is disallowable pursuant to Bankruptcy

 Code section 502(b)(2). 5

              2.       The OID Objections should be denied as a matter of law. The Notes

 Exchange is precisely the type of consensual workout that does not generate OID disallowable as


 2
  Wilmington Trust is also the Collateral Trustee under, inter alia, that certain Collateral Trust Agreement dated as
 of January 11, 2016 relating to that certain Second Lien Credit Agreement dated as of January 11, 2016 under which
 SunEdison, Inc. is the borrower.
 3
  “The Tranche B Lenders/Steering Committee” consists of the lenders referenced in the Verified Statement
 Pursuant to Bankruptcy Rule 2019 dated December 22, 2016 [Docket No. 1977].
 4
  The Committee Objection was raised by the Committee as the First Cause of Action in its Amended Adversary
 Complaint [Docket No. 12] (the “Amended Complaint”) filed in the adversary proceeding captioned Official
 Committee of Unsecured Creditors v. Wells Fargo Bank, N.A., et al., Adv. Pro. No. 16-01228 (the “Adversary
 Proceeding” or “Adv. Pro.”). Pursuant to the Stipulation and Agreed Order (I) Setting Briefing Schedule and
 Hearing Date on Defendants’ Motion to Dismiss Amended Complaint; and (II) Granting Leave with Respect to
 Page Limitations [Adv. Pro. Docket No. 8], the parties agreed that the Committee Objection would be consolidated
 with the BOKF Objection and proceed as a contested matter. In this Response, Respondents respond only to the
 portions of the OID Objections relating to the Second Lien Notes and the Second Lien Notes’ Proof of Claim.
 5
  Capitalized terms used but not defined in this Preliminary Statement shall have the meanings given to them in the
 Relevant Undisputed Facts section of this Response.
16-10992-smb      Doc 2361      Filed 01/31/17 Entered 01/31/17 16:42:23            Main Document
                                             Pg 5 of 21


 unmatured interest under section 502(b)(2), based on the Second Circuit’s clearly-articulated

 reasoning in LTV Corp. v. Valley Fidelity Bank & Trust Co. (In re Chateaugay Corp.), 961 F.2d

 378, 382 (2d Cir. 1992) (“Chateaugay”) and Judge Glenn’s further clarification in Official

 Committee of Unsecured Creditors v. UMB Bank, N.A. (In re Residential Capital, LLC), 501

 B.R. 549, 588-89 (Bankr. S.D.N.Y. 2013) (“ResCap”).

            3.      The Second Circuit ruled in Chateaugay that exchanging debt in consensual

 out-of-court workouts does not generate OID that constitutes disallowable unmatured interest.

 The Second Circuit recognized that a contrary holding would discourage lenders from entering

 into consensual workouts, and thus would not comport with the Bankruptcy Code policy of

 encouraging lenders to cooperate with struggling debtors. The undisputed facts here show that

 the Notes Exchange was part of a consensual workout: the workout occurred at a time when

 SUNE was struggling with a severe liquidity crisis; the resulting Notes Exchange reduced

 SUNE’s debt on its balance sheet by hundreds of millions of dollars and resulted in a net interest

 reduction; and the overall transaction infused $725 million into the Debtors’ enterprise.

            4.      In an attempt to circumvent this clearly-articulated reasoning, BOKF argues

 principally that, in hindsight, SUNE committed fraud in order to induce lenders to participate in

 the Notes Exchange, which in turn should retroactively render the Notes Exchange “not a

 workout.” But Chateaugay turned on an objective assessment of whether the purpose of the

 consensual workout was to assist a financially-distressed debtor in order to help it avoid default

 and increase its chances of surviving as a going concern. The Chateaugay ruling is not driven by

 a post-hoc subjective evaluation of the debtor’s state of mind. Nor does it rest on the business

 wisdom of the workout itself to determine the amount of a claim created pursuant to a debt-for-

 debt exchange. The perverse result proposed by the Committee and BOKF would essentially
                                                -2-
16-10992-smb       Doc 2361     Filed 01/31/17 Entered 01/31/17 16:42:23            Main Document
                                             Pg 6 of 21


 penalize defrauded lenders, and would undermine the Bankruptcy Code policy of encouraging

 lenders to participate in out-of-court workouts, thereby increasing the likelihood that struggling

 companies will be forced to file for bankruptcy. Respondents thus respectfully submit that they

 are entitled to judgment as a matter of law under the policy announced in Chateaugay and

 ResCap.

                               RELEVANT UNDISPUTED FACTS

             5.      The following facts, which are derived from the Committee’s Amended

 Complaint dated November 21, 2016 and from facts in the public record, are not in dispute for

 purposes of this response.

        A.        SUNE’s Financial Condition In The Months Preceding January 2016

             6.      Prior to the April 21, 2016 (the “Petition Date”), SunEdison, Inc. (“SUNE”)

 aggressively expanded its operations worldwide through the use of borrowed money and equity

 raises. In fact, between December 2013 and January 2016, SUNE committed to over $18 billion

 in acquisitions funded by approximately $24 million of capital raised through debt and equity

 offerings to finance such projects. Amended Complaint ¶ 116. Each project required cash or

 additional leverage, putting strain on SUNE’s liquidity position. Id.

             7.      Ultimately, several of these investments “proved disastrous,” requiring

 intensive capital commitments and consequently limiting SUNE’s capacity to acquire additional

 projects due to its unwillingness or inability to pay for the same in cash. Id. ¶ 117-18. As a

 result of these failed projects, SUNE’s stock price dropped by approximately two-thirds between

 July 20, 2015 and August 31, 2015, and continued to trend downward thereafter. Id. ¶ 119.

             8.      Further exacerbating SUNE’s strained liquidity position, in August of 2015,

 SUNE was forced to make an unexpected outlay of cash to acquire $30 million in Class A
                                           -3-
16-10992-smb        Doc 2361       Filed 01/31/17 Entered 01/31/17 16:42:23                   Main Document
                                                Pg 7 of 21


 common stock of one of its two “YieldCo” subsidiaries, TerraForm Global, Inc. (“GLBL”) in

 order to complete GLBL’s IPO. Id. This unexpected outlay of cash put further strain on

 SUNE’s liquidity. Id. Shortly thereafter, in October 2015, share prices of SUNE’s other

 YieldCo subsidiary, TerraForm Power, Inc., fell below a critical threshold for a margin loan that

 SUNE had entered into to finance one of its acquisitions, and as a result SUNE was required to

 repay the $439 million balance of the loan. Id. ¶¶ 119-20. This prepayment obligation further

 depleted SUNE’s remaining cash reserves. Id.

             9.       Each of these developments curtailed SUNE’s ability to access the equity

 markets, which left SUNE facing significantly difficult financial prospects, and led to SUNE

 reducing its workforce and putting projects on hold. See Declaration of Patrick M. Cook

 Pursuant to Local Bankruptcy Rule 1007-2 and in Support of Chapter 11 Petitions and First Day

 Pleadings [Docket No. 4] ¶ 61. SUNE’s resulting inability to raise funds from the capital

 markets also hurt its ability to close deals, which further contributed to a decline in SUNE’s

 liquidity position. Id. ¶ 49.

             10.      By the end of December 2015, SUNE’s public filings demonstrated that,

 without the infusion of funds, it would have run out of cash in the near term. See SunEdison,

 Inc. Current Report (Form 8-K) (Dec. 24, 2015) (the “12/24/15 8-K”), citing presentation titled

 Business Update – December 2015 at 16 (slide titled “Expected Liquidity Analysis”

 demonstrating SUNE’s strained liquidity position). 6 Market information confirmed SUNE’s

 financial extremis at the time. For example, SUNE’s unsecured convertible notes (the


 6
  A copy of the 12/24/15 8-K and the Business Update – December 2015 presentation are attached as Exhibits A and
 B, respectively, to the Declaration of Andrew Goldman in Support of Wilmington Trust, N.A.’s as Trustee, and the
 Tranche B Lenders/Steering Committee’s Response to (I) BOKF, N.A.’s, as Indenture Trustee, Objection to Proofs
 of Claim Nos. 1490 and 3555, and (ii) the Official Committee of Unsecured Creditors’ OID Objection filed
 contemporaneously herewith (the “Goldman Declaration”).

                                                      -4-
16-10992-smb         Doc 2361      Filed 01/31/17 Entered 01/31/17 16:42:23                  Main Document
                                                Pg 8 of 21


 “Unsecured Notes”) were trading at significant discounts to par. See, e.g., Bloomberg L.P. Bond

 Price Graphs for SunEdison Unsecured Convertible Notes, retrieved Jan. 30, 2017 from

 Bloomberg Database; S&P Capital IQ Bond Price Graph for SunEdison 12/16/15 to 1/15/16,

 retrieved Jan. 31, 2017. 7 And financial analysts recognized the market’s lack of confidence in

 SUNE’s business. See, e.g., “SunEdison, Inc.—Model Update” (Jan. 4, 2016). 8 Even the new

 secured notes issued in the Notes Exchange immediately traded at a discount to par. See

 Amended Complaint ¶ 143 n.7.

         B.         The January Financing, Which Included The Notes Exchange

              11.      In early January 2016, in the face of this severe financial distress, SUNE

 partially recapitalized its debt and obtained a significant infusion of new money, through a series

 of transactions (the “January Financing”): (i) it entered into a second lien credit agreement (the

 “Second Lien Term Loan”) with the lenders thereunder (the “Second Lien Term Loan Lenders”)

 providing for a two-tranche loan in a principal amount of approximately $725 million, itself

 consisting of a $500 million Tranche A-1 Second Lien Term Loan and a $225 million Tranche

 A-2 Second Lien Term Loan; and (ii) its noteholders agreed to exchange (the “Notes Exchange”)

 $336 million in Unsecured Notes for $225 million of second lien secured notes (the “Second

 Lien Notes” and the holders thereof, the “Second Lien Noteholders,” and together with the

 Second Lien Term Loan Lenders, the “Second Lien Lenders”). Amended Complaint ¶¶ 135,




 7
  Copies of the “Bloomberg L.P. Bond Price Graphs for SunEdison Unsecured Convertible Notes” and the “S&P
 Capital IQ Bond Price Graph” are attached as Exhibit C to the Goldman Declaration.
 8
  A copy of the “SunEdison, Inc.—Model Update” analyst report is attached as Exhibit D to the Goldman
 Declaration.

                                                      -5-
16-10992-smb            Doc 2361       Filed 01/31/17 Entered 01/31/17 16:42:23        Main Document
                                                    Pg 9 of 21


 140; BOKF Objection at ¶¶ 4-6; SunEdison, Inc. Current Report (Form 8-K) (Jan. 7, 2016) (the

 “1/7/16 8-K”). 9

                 12.      As part of the Notes Exchange, the exchanging noteholders also agreed to

 exchange an additional $245 million in Unsecured Notes in exchange for common stock. The

 January Financing thus resulted in an aggregate reduction in SUNE’s outstanding debt of $356

 million, and an infusion of $725 million in new money. See Goldman Decl., Ex. E (1/7/16 8-K).

            C.         The Second Lien Noteholders’ Claim

                 13.      Following SUNE’s fall into chapter 11, Wilmington Trust filed a proof of

 claim for $228,125,000.00 (plus other unliquidated amounts) on account of “(a) principal on the

 [Second Lien Notes] in the amount of not less than $225,000,000.00 as of the Petition Date; and

 (b) accrued but unpaid interest in the amount of not less than $3,125,000.00 as of the Petition

 Date.” Proof of Claim No. 1490 (the “Second Lien Notes’ Proof of Claim”).

                 14.      BOKF and the Committee thereafter filed their OID Objections, which seek to

 reduce the Second Lien Notes’ Proof of Claim by approximately $93 million. They allege that

 the approximately $93 million amount constitutes OID that is disallowable under Bankruptcy

 Code section 502.




 9
     A copy of the 1/7/16 8-K is attached as Exhibit E to the Goldman Declaration.

                                                          -6-
16-10992-smb          Doc 2361       Filed 01/31/17 Entered 01/31/17 16:42:23                      Main Document
                                                 Pg 10 of 21


                                                    RESPONSE

 I.       The Notes Exchange Did Not Generate OID For Purposes Of Section 502(b)(2)

          A.         Fair Value Debt Exchanges In Consensual Workouts Do Not Generate
                     Disallowable Unmatured Interest For Bankruptcy Purposes

               15.      The basic legal principles underlying this dispute are straightforward. OID

 can be generated when a bond is issued for less than its face value. Chateaugay, 961 F.2d at

 380. OID “equals the difference between a bond’s face amount (stated principal amount) and the

 proceeds … received by the issuer” of the bond. Id. OID can result in interest income under the

 Internal Revenue Code for tax purposes.

               16.      However, tax considerations are not controlling in determining whether OID

 exists, or creates disallowable unmatured interest under Bankruptcy Code section 502.

 Chateaugay, 961 F.2d at 382; see also id. at 383 (“The tax treatment of debt-for-debt exchanges

 derives from the tax laws’ focus on realization events, and suggests that an exchange offer may

 represent a sensible time to tax the parties. The same reasoning simply does not apply in the

 bankruptcy context.”); ResCap, 501 B.R. at 587 (taxable OID arising from debt exchange does

 not dictate that disallowable unmatured interest is created); Tex. Commerce Bank, N.A. v. Licht

 (In re Pengo Indus., Inc.), 962 F.2d 543, 550 (5th Cir. 1992) (holding that “the tax treatment of

 original issue discounting does not control our inquiry, which is placed firmly within the

 bankruptcy framework”). 10

               17.      Instead, the Second Circuit held in Chateaugay that a face value debt

 exchange did not create OID disallowable as unmatured interest for purposes of Bankruptcy


 10
    It is unclear whether the Debtors even viewed the Notes Exchange as creating OID for tax purposes. But in any
 event, because the tax treatment of a transaction does not control the determination of whether the transaction gives
 rise to disallowable unmatured interest from a Bankruptcy Code policy perspective, nor can the manner in which a
 debtor records or reports a transaction dictate the treatment of that transaction in bankruptcy.

                                                         -7-
16-10992-smb      Doc 2361      Filed 01/31/17 Entered 01/31/17 16:42:23             Main Document
                                            Pg 11 of 21


 Code section 502(b)(2), even though that transaction created OID for tax purposes, based on

 fundamental policy considerations embedded in the Bankruptcy Code.

            18.     In Chateaugay, the debtor—LTV—consummated a face value debt-for-debt

 exchange with certain of its lenders; the exchange permitted lenders to exchange $1000 in

 principal of old debentures for $1000 in principal of new notes plus 15 shares of LTV stock.

 Chateaugay, 961 F.2d at 380. The new notes had different maturities and a different interest rate

 than the old debentures. Id. The LTV debt-for-debt exchange was not sufficient to save it from

 a chapter 11 filing, which was commenced a mere 47 days later. Id. at 379–80. In the

 bankruptcy proceeding, the debtor argued that because the debentures were trading at a discount

 at the time of the exchange, the exchange created OID under the Internal Revenue Code, which

 should be treated as disallowable unmatured interest under Bankruptcy Code section 502(b) and

 deducted from the exchanging lenders’ claim against the debtor. Id. at 380.

            19.     The Second Circuit disagreed, and held that the lenders’ claims should be

 allowed in full notwithstanding Bankruptcy Code section 502(b). In reaching this conclusion,

 the Second Circuit articulated the circumstances that often give rise to debt exchanges involving

 distressed companies. Specifically, the Second Circuit noted that “[a] debtor in financial trouble

 may seek to avoid bankruptcy through a consensual out-of-court workout,” which “often takes

 the form of a debt-for-debt exchange.” Id. at 381. In a consensual debt exchange, the debtor

 hopes that the exchange, “by changing the terms of the debt, will enable the debtor to avoid

 default,” while the debtholders hope to increase the likelihood of payment on their bonds. Id.

 Thus, “[t]he debtor and its creditors share an interest in achieving a successful restructuring of

 the debtor’s financial obligations in order to avoid the uncertainties and daunting transaction

 costs of bankruptcy.” Id.
                                                 -8-
16-10992-smb      Doc 2361      Filed 01/31/17 Entered 01/31/17 16:42:23           Main Document
                                            Pg 12 of 21


            20.    Based on these observations, the Second Circuit reasoned that treating such

 consensual exchanges as generating OID that constitutes disallowable unmatured interest “does

 not make sense if one takes into account the strong bankruptcy policy in favor of the speedy,

 inexpensive, negotiated resolution of disputes” that is often accomplished through out-of-court

 consensual workouts. Id. at 382 The Second Circuit explained that “[i]f unamortized OID is

 unallowable in bankruptcy, and if exchanging debt increases the amount of OID, then creditors

 will be disinclined to cooperate in a consensual workout that might otherwise have rescued a

 borrower from the precipice of bankruptcy.” Id. That in turn would “likely result in fewer out-

 of-court debt exchanges and more Chapter 11 filings,” while creating “a disincentive for

 creditors to cooperate with a troubled debtor” and “a corresponding windfall both to holdouts

 who refuse to cooperate and to an issuer that files for bankruptcy subsequent to a debt

 exchange.” Id.; see also Pengo Indus., 962 F.2d at 549 (“strongly disfavor[ing]” an application

 of the Bankruptcy Code “that contravenes the substantial Congressional policy favoring out-of-

 court consensual workouts,” and holding that a face value exchange did not create OID

 disallowable in bankruptcy).

            21.    The Notes Exchange, which presents very similar circumstances to the

 exchange at issue in Chateaugay, falls squarely within the Second Circuit’s reasoning in

 Chateaugay, and that reasoning applies equally to the Notes Exchange. The undisputed facts

 show that SUNE was in significant financial distress in late December 2015, and was in the

 midst of a liquidity crisis that put all of SUNE’s creditors at risk of non-payment. SUNE sought

 to address that serious financial concern in early January 2016 by entering into a workout in

 which SUNE recapitalized its debt and obtained a significant infusion of new money, and in

 exchange, the lenders improved the likelihood of repayment on their existing debt. There are no

                                                -9-
16-10992-smb         Doc 2361       Filed 01/31/17 Entered 01/31/17 16:42:23                     Main Document
                                                Pg 13 of 21


 allegations of any collusion or coercion by the lenders that would make the workout anything but

 consensual.

              22.      The only relevant difference between this case and Chateaugay is that

 Chateaugay involved a face value debt exchange, whereas the Note Exchange was a fair value

 exchange. 11 The Second Circuit declined to address whether that distinction would compel a

 different result. 12 However, Judge Glenn’s subsequent decision in ResCap emphatically

 concluded that it did not, holding that the rationale underlying the Second Circuit’s holding in

 Chateaugay also applies in equal measure to fair value exchanges.

              23.      In ResCap, the exchanging noteholders had exchanged unsecured notes for

 secured notes with a lower face amount, effectively de-levering the borrower in return for

 security for the lenders. ResCap, 501 B.R. at 588. Because the new notes had a market value

 that was less than the face amount of the new notes, the exchange created OID for tax purposes.

 Id. at 587. In the later chapter 11, the creditors’ committee sought disallowance of that tax OID,

 arguing that (a) the change in principal amount of the debt differentiated the ResCap notes

 exchange from the Second Circuit’s ruling in Chateaugay, (b) under such an exchange, the

 taxable OID which had not matured as of the petition date should be disallowed as unmatured

 interest, and (c) treating taxable OID as “unmatured interest” would not lead to an “absurd”




 11
    A fair value exchange occurs where “an existing debt instrument is exchanged for a new one with a reduced
 principal amount, determined by the market value at which the existing instrument is trading.” Chateaugay, 961
 F.2d at 381.
 12
    Similarly, in Pengo Indus., 962 F.2d at 550, the Fifth Circuit, which adopted the Second Circuit’s rationale in
 Chateaugay, holding that OID is not generated for bankruptcy purposes in a face value exchange, also left open the
 question of whether fair value exchanges should be treated differently.

                                                       - 10 -
16-10992-smb          Doc 2361       Filed 01/31/17 Entered 01/31/17 16:42:23                      Main Document
                                                 Pg 14 of 21


 result because even if that OID were disallowed, the exchanging noteholders’ recovery would

 still exceed the recovery of the holdout noteholders. Id. at 587-88.

               24.      Judge Glenn disagreed, holding that the exchange did not generate

 disallowable unmatured interest. After recounting the policy underpinnings of Chateaugay,

 Judge Glenn held that “there is no commercial or business reason, or valid theory of corporate

 finance, to justify treating claims generated by face value and fair value exchanges differently in

 bankruptcy.” Id. at 588. In reaching this conclusion, Judge Glenn noted the following

 similarities in both types of exchanges: “First, the market value of the old debt is likely

 depressed in both a fair value and face value exchange. Second, OID is created for tax purposes

 in both fair value and face value exchanges. Third, there are concessions and incentives in both

 fair value and face value exchanges.” 13 Id.. Based on the foregoing, Judge Glenn denied the

 creditors’ committee’s request to disallow the tax OID generated by the fair value exchange.

          B.         The January Financing Was In The Context Of A Consensual Workout

               25.      The OID Objections do not claim that there are any material facts in dispute

 that would distinguish the fair value Notes Exchange in this case and the fair value exchange in

 ResCap, or that would cause the reasoning in Chateaugay with respect to face value exchanges

 not to apply equally to the fair value Notes Exchange here. Instead, BOKF and the Committee

 argue that the Notes Exchange did not constitute a consensual, out-of-court workout of the sort

 envisioned by Chateaugay and ResCap, and thus any tax OID generated by the Notes Exchange

 must be disallowed under Bankruptcy Code section 502(b)(2).



 13
    Those concessions and incentives included: “(1) granting of security in the issuer’s collateral; (2) interest rate;
 (3) maturity date; (4) payment priorities; (5) affiliate guarantees; (6) other lending covenants; (7) redemption
 features; (8) adding or removing a sinking fund or conversion feature; and (9) offering stock with the new debt.” Id.
 at 588.

                                                        - 11 -
16-10992-smb       Doc 2361      Filed 01/31/17 Entered 01/31/17 16:42:23               Main Document
                                             Pg 15 of 21


             26.     BOFK and the Committee are wrong. As described above, the undisputed

 facts in this case demonstrate that SUNE was facing the same liquidity constraints that were

 faced by the debtors in Chateaugay and ResCap, and the Second Lien Lenders agreed to provide

 a lifeline to SUNE that benefitted both sides. Like the exchanges in Chateaugay and ResCap,

 the Notes Exchange helped SUNE de-lever (by forgiving a net $111 million of debt and

 converting an additional $245 million of unsecured debt to SUNE equity). The January

 Financing went even a step further, by enabling the Debtors to raise $725 million of new money.

 Supra ¶ 12; ResCap, 501 B.R. at 578. In exchange therefor, the Debtors provided the Second

 Lien Noteholders with liens securing their existing debt.

             27.     These facts in the public record show that the Notes Exchange was a

 “consensual workout” that involved exactly the sort of lender cooperation with a troubled debtor

 that the Second Circuit recognized in Chateaugay and that the Bankruptcy Code is designed to

 encourage. See Pengo Indus., 962 F.2d at 549 (referring to bankruptcy policy strongly favoring

 out-of-court workouts, described as the “speedy, inexpensive, negotiated adjustment of creditor-

 company relations”) (citing Chateaugay, 961 F.2d at 382) (internal quotation marks omitted);

 Robert W. Sawdey, Out-of-Court Workouts, 45-JUN Fed. Law. 46, 46 (1998) (“Simply stated …

 an out-of-court workout is a mechanism whereby a financially troubled corporate debtor

 contracts with its creditors for a full or partial resolution of its debt in order to avoid seeking

 formal relief under Chapter 11 of the Bankruptcy Code.”); Bowman Brown, Brian Nordwall &

 Michael L. Ashner, Corporate, Securities and Banking Law Aspects of Workouts, 32 U. Miami

 L. Rev. 979, 979 (1978) (“[A] workout is defined as any arrangement involving a voluntary

 restructuring of a debtor-creditor relationship for the purpose of avoiding foreclosure or

 bankruptcy.”). Moreover, there are no allegations in the OID Objections that the Second Lien

                                                  - 12 -
16-10992-smb        Doc 2361        Filed 01/31/17 Entered 01/31/17 16:42:23                   Main Document
                                                Pg 16 of 21


 Noteholders colluded with, or coerced, SUNE in a way that would make the workout “non-

 consensual.” Thus, the Notes Exchange fits easily under the Second Circuit’s announced policy

 of protecting lenders in those circumstances. 14

              28.     BOKF suggests that a different result should apply despite these undisputed

 facts, because the Second Lien Noteholders allegedly never cooperated with “a struggling

 debtor,” but rather were duped by an issuer (SUNE) who provided these lenders with false and

 misleading financial information. BOKF Objection ¶ 23. On this basis, BOKF argues that

 (i) SUNE was more interested in obscuring alleged financial improprieties than in rehabilitation,

 and (ii) the Second Lien Noteholders must not have viewed the Notes Exchange as a workout. In

 other words, BOKF proposes that this Court create an exception to Chateaugay that would

 require the Court to engage in an after-the-fact, retroactive assessment of a debtor’s undisclosed

 motives and/or the extent of anticipated benefits of the proposed workout before allowing (or

 disallowing) the unaccreted tax OID component of a claim by a lender that had engaged in a pre-

 petition workout.

              29.     But that is not the law, and cannot be the litmus test. Chateaugay turned on

 an objective view of the facts and circumstances at the time of the debt exchange, not on whether

 the debtor “turned out” to be engaged in some fraud. See Chateaugay, 961 F.2d at 382. ResCap

 similarly focused only on objective indicia of the debtor’s financial condition at the time of the




 14
    That the January Financing ultimately did not rescue SUNE from bankruptcy is of no moment to the conclusion
 that it was a workout. Indeed, that was also the case in Chateaugay, where the company filed for bankruptcy 47
 days after the exchange. In re Chateaugay Corp., 109 B.R. 51, 52 (Bankr. S.D.N.Y. 1990), aff'd sub. nom. LTV
 Corp. v. Valley Fidelity Bank & Trust Co. (In re Chateaugay Corp.), 130 B.R. 403 (S.D.N.Y. 1991), aff'd in part
 and rev'd in part, 961 F.2d 378, (2d Cir. 1992).

                                                      - 13 -
16-10992-smb      Doc 2361      Filed 01/31/17 Entered 01/31/17 16:42:23            Main Document
                                            Pg 17 of 21


 exchange. See ResCap, 501 B.R. at 588-89. Indeed, in ResCap, Judge Glenn expressly rejected

 any post-hoc test in favor of affording predictability to issuers and creditors:

            And whatever rules are adopted by courts should provide predictability
            to parties in planning transactions. The outcome—whether a transaction
            results in disallowed OID for bankruptcy purposes—should not hinge
            on whether, with the benefit of hindsight, noteholders that exchanged
            their notes did better than those that did not exchange. Determining
            whether the transaction created disallowable OID should not depend
            on if the noteholders or the debtors got a “good deal” in bankruptcy.
            That rule would create confusion in the market and would likely
            complicate a financially distressed company's attempts to avoid
            bankruptcy with the cooperation of its creditors.

 ResCap, 501 B.R. at 588-89 (emphasis added).

            30.      The need for predictable rules also weighs heavily against a standard for

 determining allowance of a claim that is based on an issuer’s undisclosed motives. Indeed, just

 this month, the Second Circuit in Marblegate Asset Management, LLC v. Education

 Management Finance Corp., No. 15-2124-cv, 2017 WL 164318, at *11 (2d Cir. Jan. 17, 2017),

 rejected an interpretation of the Trust Indenture Act that would require courts to evaluate the

 “subjective intent of the issuer or the majority [of the] bondholders” in order to determine the

 validity of an out-of-court distressed workout.

            31.     Moreover, as this Court has recognized, a rule that would allow taxable OID

 for lenders who assist struggling debtors by engaging in consensual workouts, but would

 disallow such taxable OID if it turned out that the cooperating lenders were defrauded by the

 debtors respecting its financial prospects, “doesn’t make a lot of sense.” Hr’g Tr. 24:1-3 Jan. 10,

 2017 (“If you’re saying that [the bondholders] were defrauded and therefore as a matter of policy

 their claim should be reduced, that doesn’t make a lot of sense.”). Such a rule would also

 undoubtedly render lenders increasingly wary of participating in consensual workouts, which is


                                                 - 14 -
16-10992-smb        Doc 2361     Filed 01/31/17 Entered 01/31/17 16:42:23           Main Document
                                             Pg 18 of 21


 precisely the result that the Chateaugay decision and its progeny were intended to avoid. See

 Chateaugay, 961 F.2d at 382 (“We must consider the ramifications of a rule that places a

 creditor in the position of choosing whether to cooperate with a struggling debtor, when such

 cooperation might make the creditor’s claims in the event of bankruptcy smaller than they would

 have been had the creditor refused to cooperate.”) (emphasis added); Pengo Indus., 962 F.2d at

 549 (“A rule that a debt-for-debt face value exchange in a consensual out-of-court workout

 creates OID concomitantly reduces the likelihood that creditors will ‘cooperate with a

 struggling debtor’ because such a rule lowers the exchanging creditors’ claims in bankruptcy.”)

 (emphasis added).

             32.      BOKF also points to the absence of any “holdouts” that opted out of the Notes

 Exchange as further support for its assertion that Chateaugay’s holding should not apply to the

 case at bar. BOKF Objection ¶ 24. As discussed above, the Second Circuit in Chateaugay held

 that OID generated by a face value exchange should not be disallowed under Bankruptcy Code

 section 502(b)(2) due to the court’s primary concern that disallowing such OID would

 discourage creditors from cooperating in consensual workouts with financially struggling

 companies, leading to “fewer out-of-court debt exchanges and more Chapter 11 filings.”

 Chateaugay, 961 F.2d at 382. While the Chateaugay court did note that refusing to disallow

 OID resulting from debt exchanges would prevent a “windfall” to holdouts in that case, there is

 no indication in the decision, and no basis therein to conclude, that the absence of holdouts

 would have altered its conclusion.

        C.         Supreme Court Decisions Do Not Overrule Chateaugay

             33.      Finally, BOKF argues that the Second Circuit’s policy in Chateaugay is

 “questionable” in light of recent Supreme Court decisions because it did not apply the “plain

                                                - 15 -
16-10992-smb      Doc 2361     Filed 01/31/17 Entered 01/31/17 16:42:23           Main Document
                                           Pg 19 of 21


 meaning” of Section 502(b)(2). The same argument was raised before Judge Glenn in ResCap,

 to no avail. See ResCap, 501 B.R. at 588. In fact, allowing the Second Lien Notes’ Proof of

 Claim in full in no way requires the Court to vary the express terms or plain meaning of the

 Bankruptcy Code. The Bankruptcy Code does not anywhere (a) define unmatured interest,

 (b) explain when tax OID should be disallowed as unmatured interest, or (c) provide that

 disallowable unmatured interest is created when an issuer engages in a distressed debt-for-debt

 exchange. In fact, when Section 502(b)(2) was enacted, debt-for-debt exchanges did not give

 rise to OID even for tax purposes. See ResCap, 501 B.R. at 587. As such, there is nothing in the

 “plain meaning” of Section 502(b)(2) mandating, or even suggesting, that tax OID generated by

 an exchange should be treated as disallowable interest.

 II.    The OID Objections Improperly Calculate the Amount of OID Generated by the
        Notes Exchange

            34.    Respondents believe, for the reasons articulated above, that the Court should

 conclude as a matter of law that no disallowable unmatured interest was generated as a result of

 the Notes Exchange for purposes of Bankruptcy Code section 502(b)(2). But should the Court

 determine otherwise, the Court should reject BOKF’s and the Committee’s erroneous calculation

 of the amount of OID generated.

            35.    The OID Objections assert that the Notes Exchange generated $93 million in

 OID. The $93 million figure is based on the alleged market value of the Unsecured Notes and

 the face amount of the Second Lien Notes. The foregoing calculation is irrelevant to the issue at

 hand. In the first instance, the Second Lien Noteholders gave SUNE $336 million of value in the

 form of the face amount of the Unsecured Notes canceled in the Notes Exchange, plus an

 additional $245 million of debt in exchange for equity. More important, to the extent tax OID


                                               - 16 -
16-10992-smb        Doc 2361        Filed 01/31/17 Entered 01/31/17 16:42:23                     Main Document
                                                Pg 20 of 21


 was created in the Notes Exchange, based on the facts alleged in the OID Objections, the amount

 of tax OID created would only be about half of the $93 million claimed by BOKF and the

 Committee. 15

              36.      To accurately determine the amount of OID generated by the Notes Exchange

 under tax rules, one must calculate the excess (if any) of the stated redemption price at maturity

 of the Second Lien Notes over the issue price of the Second Lien Notes. 26 U.S.C. § 1273(a).

 Because the OID Objections assert that the notes were traded on an established market,

 Amended Complaint ¶ 143 n. 6-7, the issue price of the Second Lien Notes is equal to their fair

 market value (measured by their trading price) immediately after the time of the exchange, or, as

 alleged by the OID Objections, $177 million. 26 C.F.R. § 1.1273-2. Accordingly, any tax OID

 generated as a result of the Notes Exchange would equal the difference between the Second Lien

 Notes’ redemption price at maturity ($225 million) and their issue price ($177 million)—$48

 million (subject to further reduction for accretion as of the Petition Date).




 15
   Respondents accept the factual averments contained in the OID Objections only for the purposes of their request
 for judgment on the pleadings on the OID Objections. Respondents reserve all rights and defenses with respect to
 these issues and otherwise as they relate to the proper calculation of the OID generated as a result of the Notes
 Exchange.

                                                       - 17 -
16-10992-smb       Doc 2361      Filed 01/31/17 Entered 01/31/17 16:42:23            Main Document
                                             Pg 21 of 21


                                           CONCLUSION

          For the reasons stated herein, Respondents respectfully request that the Court (i) overrule

 the OID Objections; and (ii) grant such other and further relief as is just and proper.


 Dated:    January 31, 2017                   WILMER CUTLER PICKERING
           New York, New York                 HALE AND DORR LLP


                                              By:      /s/ Andrew Goldman
                                                      Andrew Goldman
                                                      Charles C. Platt
                                                      Benjamin Loveland (admitted pro hac vice)
                                                      Lauren Lifland
                                                      7 World Trade Center
                                                      250 Greenwich Street
                                                      New York, New York 10007
                                                      (212) 230-8800 (Telephone)
                                                      (212) 230-8888 (Facsimile)
                                                      andrew.goldman@wilmerhale.com
                                                      charles.platt@wilmerhale.com

                                              Counsel for Wilmington Trust, N.A.,
                                              as Trustee and Collateral Trustee


                                              AKIN GUMP STRAUSS HAUER & FELD LLP

                                              By:      /s/ David M. Zensky
                                                      David M. Zensky
                                                      Erik Preis
                                                      Deborah J. Newman
                                                      Akin Gump Strauss Hauer & Feld LLP
                                                      One Bryant Park
                                                      New York, New York 10036
                                                      (212) 872-1000 (Telephone)
                                                      (212) 872-1002 (Facsimile)
                                                      dzensky@akingump.com
                                                      apreis@akingump.com
                                                      djnewman@akingump.com

                                              Counsel to the Tranche B Lenders/ Steering
                                              Committee

                                                 - 18 -
